....     Case 3:16-cr-00015 Document 25 Filed on 11/10/16 in TXSD Page 1 of 5
       Case 3:16-cr-00015 *SEALED* Document 1 Filed in TXSD on 10/26/16 Page 1 of 5


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                                   UNITED STATES DISTRICT COURT                             ...=l!.UtiB.~W~~~
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        SEALED                       SOUTHERN DISTRICT OF TEXAS                               OCT 26 Z016
                                          GALVESTON DIVISION                              DIVId J. Bradlty, Cleric ofeowt

       UNITED STATES OF AMERICA                        §
                                                       §
                      v.                               §           CRIMINAL NUMBER
                                                       §
       AGUSTO LAZO-AGUIRRE                             §
       TONY PEREZ                                      §
       CARLOS CHAYANE MORALES                          §
       FRANCISCO SOLANO-HUERTA
       JUANA GUADALUPE JOYA
                                                       §
                                                       §
                                                                    16-15
       MARCO ANTONIO DURAN-MILLAN                      §
       RAFAEL ORTUNO CARRENO                           §
               SANTIAGO-OCHOA                          §
                                                       §

                                               INDICTMENT

       THE GRAND JURY CHARGES THAT:

                                                COUNT ONE

              From on or about July 1, 2015, until on or about February 22, 2016, in the Galveston

       Division of the Southern District of Texas and elsewhere within the jurisdiction of the Court, the

       defendants,

                                      AGUSTO LAZO-AGUIRRE,
                                          TONY PEREZ,
                                   CARLOS CHA YANE MORALES,
                                   FRANCISCO SOLANO-HUERTA,
                                     JUANA GUADALUPE JOYA,
                                  MARCO ANTONIO DURAN-MILLAN,
                                    RAFAEL ORTUNO CARRENO,
                                    GABRIEL
                                  and

       did knowingly and intentionally conspire and agree together, with each other, and with other

       persons known and unknown to the Grand Jury, to possess with intent to distribute a controlled
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         Case 3:16-cr-00015 Document 25 Filed on 11/10/16 in TXSD Page 2 of 5
       Case 3:16-cr-00015 *SEALED* Document 1 Filed in TXSD on 10/26/16 Page 2 of 5




       substance. This violation involved more than fifty (50) grams of methamphetamine, or more

       than five hundred (500) grams of a mixture or substance containing a detectable amount of

       methamphetamine, and more than five (5) kilograms of cocaine, all of which are Schedule II

       controlled substances.

              In violation of Title 21, United States Code, Sections 846, 841(a)(l), and 841(b)(l)(A).


                                                 COUNT TWO

              On or about July 20,2015, in the Galveston Division ofthe Southern District ofTexas and

       elsewhere within the jurisdiction of the Court, the defendants,

                                            AGUSTO LAZO-AGUIRRE
                                               and TONY PEREZ,

       did knowingly and intentionally possess with intent to distribute a controlled substance. This

       violation involved more than fifty (50) grams of methamphetamine, that is, approximately one

       and eighty-six hundredths (1.86) kilograms of methamphetamine, a Schedule II controlled

       substance.

              In violation ofTitle 21, United States Code, Sections 841(a)(l) and 841(b)(l)(A), and Title

       18, United States Code, Section 2.


                                               COUNT THREE

              On or about January 22, 2016, in the Southern District of Texas and within the jurisdiction

       of the Court, the defendant,

                                       RAFAEL ORTIJNO CARRENO,

       then, being an alien illegally and unlawfully in the United States, did knowingly possess in and

       affecting interstate and foreign commerce, one (1) firearm, to wit: a Smith & Wesson nine (9)

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                Case 3:16-cr-00015 Document 25 Filed on 11/10/16 in TXSD Page 3 of 5
              Case 3:16-cr-00015 *SEALED* Document 1 Filed in TXSD on 10/26/16 Page 3 of 5




              millimeter caliber pistol, serial nwnber "TFL8982".

                      In violation ofTitle 18, United States Code, Sections 922(g)(5)(A) and 924(a)(2).


                                                        COUNT FOUR

                     On or about January 23, 2016, in the Galveston Division of the Southern District of Texas

              and elsewhere within the jurisdiction of the Court, the defendant,

                                            CARLOS CHAVANE MORALES,

              did knowingly and intentionally possess with intent to distribute a controlled substance. This

              violation involved more than fifty (50) grams of methamphetamine, to wit: approximately one

              hundred nine and eight-tenths (109.8) grams of methamphetamine, a Schedule II controlled

              substance.

                     In violation ofTitle 21, United States Code, Sections 841(a)(l) and 84l(b)(l)(A).


                                                        COUNT FIVE

                     On or about February 5, 2016, in the Galveston Division ofthe Southern District ofTexas

              and elsewhere within the jurisdiction of the Court, the defendant,

                                            CARLOS CHAVANE MORALES,

              did knowingly and intentionally possess with intent to distribute a controlled substance. This

              violation involved more than fifty (50) grams of methamphetamine, to wit: approximately fifty-

              four and four-tenths (54.4) grams of methamphetamine, a Schedule II controlled substance.

                     In violation of Title 21, United States Code, Sections 841(a)(l) and 841(b)(l)(A).


                                                         COUNT SIX

                     On or about February 11, 2016, in the Southern District of Texas and within the jurisdiction

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                  Case 3:16-cr-00015 Document 25 Filed on 11/10/16 in TXSD Page 4 of 5
               Case 3:16-cr-00015 *SEALED* Document 1 Filed in TXSD on 10/26/16 Page 4 of 5




               of the Court, the defendants,

                                                AGUSTO LAZO-AGUIRRE
                                          and MARCO ANTONIO DURAN-MILLAN,

               then, each being an alien illegally and unlawfully in the United States, did knowingly possess in

               and affecting interstate and foreign commerce, firearms, to wit: a Ruger Model P-85, 9mm pistol,

               serial number "300-40621 n, and a Ruger Model Mini-14, .223 caliber semi-automatic rifle, serial

               number "185-56819".

                       In violation ofTitle 18, United States Code, Sections 922(g)(S)(A), 924(a)(2), and 2.


                                                           COUNT SEVEN

                       On or about February 12, 2016, in the Galveston Division ofthe Southern District of Texas

               and elsewhere within the jurisdiction of the Court, the defendant,

                                               CARLOS CHA VANE MORALES,

               did knowingly and intentionally possess with intent to distribute a controlled substance. This

               violation involved more than fifty (50) grams of methamphetamine, to wit: approximately two

               hundred eighteen and six-tenths (218.6) grams of methamphetamine, a Schedule II controlled

               substance.

                      In violation ofTitle 21, United States Code, Sections 841(aXl) and 841(b)(IXA).


                                                           COUNT EIGHT

                      On or about February 12, 2016, in the Southern District of Texas and elsewhere within the

               jurisdiction of the Court, the defendant,

                                               GABRIEL SANTIAGO OCHOA,

               did knowingly and intentionally possess with intent to distribute a controlled substance. This

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  Case 3:16-cr-00015 Document 25 Filed on 11/10/16 in TXSD Page 5 of 5
Case 3:16-cr-00015 *SEALED* Document 1 Filed in TXSD on 10/26/16 Page 5 of 5




violation involved more than five (5) grams of methamphetamine, to wit: approximately one

hundred twenty-nine and five-tenths (129.5) grams of methamphetamine, a Schedule II

controlled substance.

       In violation ofTitle 21, United States Code, Sections 841(a)(l) and 841(b)(l)(A).




                                                       Original signature on File
                                                   FORtl~bJ'l OF THE GRAND JURY




By:
       KE
       Assistant United States Attorney




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